 

-Page 1 of 71 PagelD #:1
TEN THE UNITED STATES DisreRicr CouRT
FoR THE NORTHERN JisTRicr oF TLUwv0os
BASTERNS DIVISLON

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AY g] 200)
Gerald Si MAASEN, ANA in behalf
of Pavlette Simaensen, a minag

Tse SimMenNsens 01C 3081
nce en SIMONSEN CHIEF JUDGE ASPEN

PAMELA Simonsen MAGISTRATE JUDGE ROSEMUND

Plant Fs

V. Filter

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Chicago fBocard of Education, and

Vadividveals ja there official and individeo|

APR 3.0 209
Mictar,.
e2apactttves under color of law, Parl talfk los DORE IY
Marilyn dohnson, Carol Gearcing, Jose. FRET counn
Rodmiquedz, Chery! Neving Sharen Baile

7
Gwen Sm ith, Karina Bermejo _ dames Cresi| and
Car los Ponce Defendacks

_ COMPLAINT

Now COMES PLAINTIFES, Geralol Smonsen Else
Simonsen, Christi ve Simonsen , Pamela Simansen Pavlette.

Simensen and Com plains of the. Defendants
Ch voaqe Roar of Education , Pau| Vallos, Maryn Johnson,

al Y } NA ry \ ( es \ Gg 4

Carlos Pence. Violated +he censtibienal evahts
and Coll ig hts qvaranteec under he
Ei Lth f&mend ment Foocteenth femendmernct

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4430/01 Page 2 of 71 PagelD #:2

Ana thie Cruil Rights Act of (964 | Civ Rights Act

of€ (Aad, in cluding Title Vit eights and violations,

2 U-S. Cc. Sector 2000@) et sq , 42 US. 5 (98,
1933, 1985 lage and A2qdUS. Cc 5 G2, 623 etsg.

This action foc redress ot Uunceastitutional procedures,
Violation by COMMISSION and/or Omission ofthe

DeFendarrs | Aamages , and entry of Preliminar
Zen une ion by this Horsrable. Court. on copper!
of there Complamt PlaintrFls sfater as follows:

J UPS vetran

[. chu ris diction 1S conferred onthe Court by

2. Venve 1S preper under Qx U.S.C Section 133),

2. Clartls reside wrethia the yudicual districk

Uf. Defendant Beard of Education is aa Tiinss
municipal corpetaction,

5. Tndivideal de fendants named in thei oF Ficia\
and indi vidual caperhes are at relevant
Hime. under +he color of lau,

COUNT |
6. This action 1s beoug hT by Detenhants yiolahons

oF constitutional gvaranteed ve Oroce SS rights

rhy by the
Gerald SiMansen $ protected prere Y Y
Kectes Stectes Constetution, the Fifth nenderent”

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_ ene aie eemainin soe -Peennenttt Hed 4/30/01 Page 3 of 71 PagelD #:3

(YAK Amendment and U2 USC S lasi, 1493

COALSING Q reek harm andk suttecing thy each

Arar all OP larati Fs,
TY. Defendant s Vallas and Johnson Are. by custom

OAndA practice policy makers of the Baacd.

Plain SL Gerald Simaasen has been employed
oy the Board of Education Since. 1977,

9. la atch Crerald Si MANnNSenr has ACH iced tone.

Onan er perty cights pursuant +o tlvros lau
anck mor net be dismissed uy cthout sufficient Case,

[o. With negligence. the. Board adopted a Warntin
Resolotion against Gerald Simonsen ia Apeel, tt,
C Resolution attache A hereto Aas Exhibit ] )

Gerald Simenser

The Warning Resolution against
AS pice ten

vged untroe and false Reason
+o Aise cp line _S(MoNs On.

\2. Tr Moy, 1a%qY Gerald Simonsen InSor med the
Roard thet their Resolution oF A peel was
Dntrvue. acd false. Mo correctue action was taken,

{3 The Board's Hrogress ve Discipline folicy 1S Vagre
and unequally used inanar bitrory manner,

IU. Board of Edoceaton policy allows the chet adm unustitar
+hne authority to susoenk LP te 30 days al less,

iS Roard at E docot ion Krowing|y ule lates their BWIA policy
with Gerala Simonsen, unpacd SUSPENSION lasténg
More than USO Hays vo rthout CaAsse, (Board's
policy attached hereto 4$ Exhibit 2)

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age 4 of 71 PagelD #:4

 

iG. Gerald Simonsen’s Sus pension Ww the ut pay (99 lastieg
Neer ly seventeen months and ongoing has Caused
Areak harm+e each and all Plants,

7. The Board af Edvoceaton was caformed repeatedly
ot theile policy violations qad canstaoiona|
violations toward tenvrecdk employees, yet

+ook no corrective. action,

Roard Failure to take carrectVe. action

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+-z5 therr ualawFfol acts are. CONnSp Icvuevs
ana eppresively harm@o| +oward Plarattts
14. Boar policy makers uve teacher dismissals AS
A economic po lie, Dismissals

needed olrtical an
ak Leechers are sham evidence, at higher

Standards prackiced by pe rey ma Kers Qor-teacher.

f to 1419S the Chieaqo Roark of

dismissed less than 30 teachers,
(G96 to 2000 have

feac hers,

QO. From 1%

Cdvcaton
Cortent pel<y ma Kers From

dismissed more -+than 400

Lrndividval defendants Named ia their aoFFica\
Andk iackividval Capacities acted onder calor

Ot law, will Folly performed , Knowingly aided
iw the deprivation at Gerald Simonsen property
rights Causing ieceparable harm ank emotisnal
suffering +o each and all Plaratifts.
20. Folicy makers recKless indcHference, and malice.
has caosed iece parable harm and emotional

suKFering Te each and all Plantes
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Page 5 of 71 PagelD #:5

"93. Plaintiffs Gerald, Tlse, Pavlette and
Che isting. became. homeless clue tea he
Neg liqence of eachankall Defendants.

ay, PlawnfE Pamela Simensen due te the
neg igence ak each andall Defendants
has been denied Coort ordered child
Svepect Ave to the. Property deprivation
Knowingly with reckless incdcPerence of
+he Defendants ,

25. Ln April , 1944 Defendant Geaccing placed Fa (se.
Grr baseless Aiscipline charges against Geralol
Gmonsen as certaltation for Simansens co le

OW the bbe adridcks Local School Cosactl.

26. Tr Moy LAA4 Defendant Gear cing held @ sham
hearing Sn Acseipline charges at Apel, 1499 |
Hearing WS +hicd hearing oroug ht by Gearring,
Resolts of S ham Nearing was (S day SIS PAS LON

LAI ithout pay for Simonsen , CAVSING great harm
and sufferings te all the Plawtitts.
aq. Le done 194% Defendant Geal ting cecammenneck
Gerald Simonsen s te rmiaction .
4g. Fn duane 184 La Department directed by
pefendant Johanson started to prepare for
Plait FF Gerald Simonsen's discharge,

er to ELOC come lant in (948, Lau)

Aenied the charges at Gerla
than geek the truth.

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aq. Sr aase
Department
Simonsen rather
 

4/30/01 Page 6 of 71 PagelD #:6

© 30. Defendant Gearring \gnared Union Grievances
o€ PlamtkFE Gerald Simonsen CAUS Ing all to be appealed,

Zh. Tr dune (499 BoarA adopted a S2candl Warnrng
Resolution Which reasons stated were nottrue.
Defendant Johnson approved Warning , anch

De fendant Vallas re cammendeol Warning allas
a pre tert to dismiss Gerald Simonsen,

C Resolution a ached hereto as Exhibit #2)

32. con doly 199°9 Gerald Simonsen informed the Boasd,
vo ith Vellas | Johanson and Rodriquez iN attendance,
that +he Warning was based on false reasons
Ana that Defendant Gear Ciag (OAS Aiscrimadting
agains + him and Us las hacassnent , The
BRoacd +30 Kk no corrective action.

323. P lainti Fl Gerald CS monsen hes informed the. .
Beard by oral presentations at Board meeting
which ate all video taped with edited yersions
being shown af cable +e levison , and invctormedl
+he Board with nemeraous letters. Al |

attempots +e correct mistreatment and
Lylawo | condvet bY +he Board was ignored,

34. On September 2, 1114 Noterdant Nevins acted as
a hearing otHcer regard 'N4 Uniwa GVANLS

ana AW eypeat a ff +he [S Aay SY FeONSION
Gwen Diatati€€ Geld Simonsen.

Hy p la ntbePE

heating WAS A, sham lw!
35: che LA Ss olson having Mo chance of net
ra

/\ ed nor oF fair rievance. he (SION,

heing SUS
pe eE Soave 2, 1899 befere. eV INS,
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26. On September A, IX¢7 while Derfendact Nevins

~ awas the hear tag otter Vahlas however made
the Ae cision to deny all grievances and DeRadact
Ponce. made the tecision te Aeay the suspension

appeal, Wether Vallas, Nor Ponce ortterded the

- ecsioas of Vallas Grad as
Wearing 3, (D Excheb ck 4 ance attached as )

97 At the September 2, (444 arierance hearing
Defendant Gearting dove False testimony Whe
Reuins elected to believe. wrthect aay lore
to seek the troth, Which wes easily available,

27. Qn Cetober 12, (19% Defendant Ponce sent hes
Appeal Aecison te P laintFF Gerald Simonsen ab
> UO pom Ld hrle Simonsen LOaS teaching Ais class ,
Decrson. WAS SUFPERSLON tes begin the west MOC ANG,

2, 4. On Nove mber 3, (% 79 P lacatPf Gerald Simensen-took.
ao sick day allowed Under the Roard- Unen Agree~
ment. TAs sick, day Was Untoicly written vp
Asa dismissal charge, Other teachers sere,
not charged by Vallas ner Gearing,

Yo. On November 4, 144% Defendant (Rodrig ver sent

On” representative to fereve, GBerula Simonsen.
From hes Feaching dothes, ar cool Si menser

entec hes clas Sroom CAUSING qreat em-
harrassment te Plaintki PF S7MENSEN.
Ui On Novewloeer 4, 1994 Plaiwth ff Gerald Simansern,

removed ren Llendricks schoal and
week to the Regn Office wth be dvohes.

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. U2. On November (0, 1%94 Gerald Simansea g poke.

. wo cth ank in Formed D.cfeadact Rodr quer aot
fhe false ackwns of Defendant Gearring,
RoAdni gvec took ne coerrecktye, actor

ua On November 12, 149 Deferndart Va llas
approved Aismissal charges and specifications
with a hearing scheduled or December 6 \4tF
C Va llass letrer oF Movember 12,1979 1s attached as Exhibett >

yy Defendant Vallag lacks the astherity Te agp ove.
ais missal charg es undec TLCS (os = |p4-8S.
Tllinors law cequices that the Board of Ed-
Lr._cation app rove. diceissal charges. this
rs well established by the TEllinets Supreme.
Coort, Vallas approved charges that were,
not suf ficient te dremiss. a-teavred -eacher,

US. On November I7, 194 Gerald Simonsen WOs
not Fried of Vallas‘s charges ank er Ajovember
LS, AAT Simonsen received a letter Crem

De Seadant Nevins alon4 Wweth A CaPpy ot
Board policy # IF —loas- PO! informing Simonsen
at the pre- suspension hearing and the’ pra-

Ce. ot Ch Board ot E ducation.
C Ares, Or a Ged heneto @s Exbioit A 6)

Ub The. PFE-SPF7PEASION hearing Was Ke ldan November
320, I42G, The heanng wes taped. Vaq I las Aik
note agp pew” at the hearing. The hearing Was
a
 

AGE IC PagelD #:9
Ch eham, (Board policy Was Ach Gal lowed ,
This violates Tltineis law thet +he Board
IOV ich violate. thew OLIN policy, Defenclant
Bac ley acted aS he Hearing oFeicer, The.
charges were not exp lained ag re wired, euen
hous Gerald Simonsen Fe qvestes AN EX

? lanation, Bar ley was not (mpartia|, Aas she

nak many contacts with Defendant Gear ring
Pewor +e the Wear tag -

U7, A+ the 0 Fe SUSPEASON hearing
(4d Gerald Simonsen Wes not allowe te tell Ais
a\de ot the matter relevant to Is defense,

Simonsen WAS not allowed to bring written

ev dAence. or his defense.

. U3 fat the ere~ Fo SPEAS LON hear Ing an November 3c
(49 the Board presented mo W ctnesses, NOT
any evidence, thet -the charges were Tre,
4. Act the pre- SUSPENSION hearing Or Novemloer 39,

\Gaq the Board did not provide names ost any
persons bring the charges +hat Va lfas approved -

on November 3°,

SO: The Board's La, lore to have am imoartial Hearing
OEECES , yet explain charges mor SY dence, threat
the Roark vad Shevding spoth at charg 25, no

petnesses , NOT wetnesses stctements, nel (er

Simonsen explain his defense are constituting |
Ute lateens of Ave process before. der vation of
pre perty 4that is required and wellestablished,

4
 

ge 10 of 71 PagelD #:10

ei. The Aecistion +o suspend Gerald Simonsen
w tthout peoy Was based on the November 70, (49A4
whieh Valles Ath not attend. The
year ing officer Defercdant Caley Ad not
issve A decision
GQ. The Clecis ion +e suspend pending dismissal

by Vallas was not dee process required to
be qven a. tenure teacher according be bath

Stute and Federal law, well established
prcor +o MWavember 1999. The Board's AeScrs (Oy
tip allow Vallas the auther ity to suspend
Was weth reckless | noreFerence. to emp loyee.S,
Incloding Gerald Simensen and Unlaw fol.
52. Detendant Bat ley ce-tused to “ta Ke eu idence,

iWWte the record for StmEnsen S defense. this
pve pese-fol ce Kose (VAS de li berate. anol
according +o Board Costom and prach(ce -

SY. Dee Fendant Bacdey WS in¥lvenced by her
wor King vnder the POCwec até Deoterdant Va (las,

‘Asutticieat;

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GS: (lnvon's postion WIR S charges et
&. + the hearing Gerald Simensen dented all charges

S Cimonsen en reck all specrFications ’ The R card

all ef Simensens testimany. The Board's

ent checision has cased
alYand each Plaint-C§

\g nored
erronous emp foy m
a reat gutter ing to

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67, Decision Te suspend wethort pay Gerald Simonsen
was Dated December 6, 17°97, delivered to Stumonsen
on December 7, 14% (Vallas's decision is attached
neneto as Exhvot 6) No appeal was allowed,

Sg. {Uo hearing LU § held en December GIT As
scheduled by Vallasts letter of Mb vember (2,17

( See Exhibits)

C4. Some ot the charges for Ars missal Were, regarding
pede gogial fssves which according +e State,
law and the Board's dun policy Can not be used
for Suspenslon Wwrthert Folle wing the procedures
ar TLCy 16s sJadh, The Board Know ingly
violated this laut. (Rluy statement attached as Exhiber D

60, MmuULcs los” S/34-8S requices mandatosy S doys
for Board to send note +o Stete Baasdot
EG dvcat® and schedole a hearing within
4
BO Aays af approving eharges by the Board.

the Board ef Education never adopted
+he charges against Gerald SIMOASEN, ~phe
decision was made by Va (las violating State law.
TALS violation is custonand practice at Boar,
teachers to be dismssedl illegally,

A not send
Niall violated the law UW hen he dd n
°8 motice ta the State Latil Uday after
Xn pound charges, wher he had No lege
ao thos cry to approve whieh is we lles tablished

oct relevant time. Cvallas's ae fete srscced)

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of 71 PagelD #:12

j& 2. State. law PeGACLNG Ow hearing wethta sO
days was deliberately delayed by the Board

LIntil almost ASd Aays atter Charges Were,
CPP rowed . Caous Ing great harm and rreparable
sotfering te all the, Pla/atitfs, the delay
WAS woe [fol by +he Board as were other
Aelays of two, three and Five months

between Wear in aoetes, (Hearing OEFi cers jetter
13 attached hereto as Exhibit Q)

& 4: Defendant Jo Kinsan yscote. the. Su AW Times
that nearly (00 teachers have re signed ratner

+hain go through the dismissal fPOOCeSS: Th is
15 pecasse of the constitutional uielateons

P laced OPEN the PFOcesS intentionally bythe froard .
be At all times relevant Board, Vallas, ehnson,

Bermejo ack Cresil Knew their actions

were i (legal and aone to case narm,

mes Gerald Simonsen $22 ke at Board

meetings t? remind the Roark thet he wt
not F olity at their charges , The meehings

were vides taped and playedon cable
+2 leviSton. the Board Cooke no Cor recHiVeacron,

Decenber o€ (I@F Simoasen informed the

6b. Mommy Hl

67 Ln
Board j Uallas And dohnson thet clue process

qwas Aen celk atk: their hearin. Val las tald

Simensen +o tei t+he State Hearing CrPbices-

ot thev olation. the Board, Vallas, dohason

took yo corrective. action,
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6F. Many +imes Gerald Simonsen intormet
. athe Roarel at&t the irre para ble harm they
Were CAO S(IOG each ard all P barnti FFs the,
Poard woth reckless inactKerence kok no acton,

bq. cen duly 2000 the Board Aropped specication S

tr 2? ana tt Y from their charges AS +here,
Was No proof te se pport these untrue chasges.

Char, 25 Lola c chk were. not soChic wert } nth 2

Lest p lace were, Now even less gu Cticterdt
yo cth these, two SK€rices gpecitications heppad,

Roark President moade comment at peblic

meeting thet speci Ficathion t#9 and HY
were VEIY FECOodS, GeralA Srronse rr

responded thet they were Untrue.

Jl ter Aroppnrg the S-efiou $ specitiction s
Gerald Simonsen «formed. Lhe Board tHeat-

+he coerreat their mistakes anol Asoe
Ab othec ontrve specications : The

(Board 720K NO cofsective ActOn |

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72. The Boarck Was ¥ epectedly sought te Aeny BQ
aur hearing before the Stite Board af Edoaitn.
Peflendant Gearring and Catth have q ven
alse te stiaony thet they Krew war-alse

Unaer cath?
Defendant Berme so avd Cregy| Knevs ar shold

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3 Nave row nthect Calse testimoay under aath
was i Negal anc took no Corrective Oacton.

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, ati Dee Fendants Berme(o and Cresc{ took NO
corcective ACTHUOA to testimony they Knew!

ariweth reckless bance Pherence soughtnet
to Know thet Board evidence WAS perjyecy,

Plant GSerala Crmansen incocmecl bath
Roark attorneys on the fecord ot the pejyy

os. Defendant Bermeje gave Cale (rQormation
te the Hearing Oficial $s cavse harm ts

? larinti ler cserald STrmansen ,
7b. To prevent a Foll ana air hearing the Board
reqes fed and receWed a fre te tue Order
So thet PlalatCF Gerald Simonsen could net
Subpoena Board President Chico, Vaallas ,
Bat ley, Nevins, or fonce, plvs

Rodrigvet,
f+ fair hearing is being Aenied hbecavse

Va {las approved Ihe charges in yroletien

aot Stete (aw And ReAdrigvet removed

Gi Sumensen pam feaching anh than removed
C- S moasen Can ine school ww cthoot Cause,

Kneus of the Hearing arKicerc's

7%. The Beoark :
(et at jaterest, clouble etandardks ,
nk highly ayvestiong

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agqans T eralad Si rnonsen a

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74, Ion November @ F AO
Crcevc’ Cowrt of Cook Cev :
A rmisconduct and

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heneFcts, ( Court

Covld cecewe unemployment
as Exhibit * 9°)

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s as nasgedA Gn Vvallas’s ZhATAeS »

Gerald Si manser intermed the,

Aecision ound ro Mis—.
k. no coftrect ve,

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This AEecarstos

gO: Tan Hecember D008
Board thet tne Jo ag es
Conduct bY Ccmansen. The Board +o0

actos:
The +We wughest pokayme Ker refused te testchy
ve ‘¢ Administrative hearing

ar Gerald Simrensen
Pres dent Chico ank Defendant Vallas
+ thet +hey Give

re sponded +o Simonsen reqves
testimony ot What they Knows about the chal ges,
The reason They refused te testcry Vs thet

ove ther policy ma ker KAO S anytiiag about

the trothet the charges, they de Krou

that Defendant Bearting ANK
Kino osd3 treat aw Principal oe ASS
have the arthority by law to Seeking dismissal
only the Board of Education by FLO? jor FABq-F5,
“The choatg es Should be dismissed,
Fy. Board President Chvco and De terdanct Va (las
nave. both explained Ve Gerald Simansen thet

Georling wrote the charges and Rodriquez appraueA.
Aegan a vtoleton af state las anadcase lav,

99 The Board Ww th malice ank reckless padcCFerence,
v Ao the harm hetng cavsedte all Plains 4v0k
no Cofrectve Acton

asens Demand letter was retosed.

. dard 300( Sime
St Fou ot better is attached hereto as Ex hibit +416)
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8S. The Board Knew ot their error bring the

charges agamsT Plante Gerald Simonsen and

WO (tfolly ce. fosed to take cerreckwe action CALS IAG
Pha inti FE Prolette. Simonsen to become. homeless ws rth
other Plains beavse of her Pathe rts adverse
em ploymect status, Paciette mosttravel US miles,
Cne| Way to attend her high School CALS Ing Great
harm and sot teriag Pac a Sixteen year old.

IN HERE FORE , Pla nti Ce prays thet this Honorable Coat 4

fre Enter | damenct wn, their PaVor anc against each
aad all of the Defendants as moy he proven at trial,

B Award Compe asatory Cla mag es
Cj Award erative cla rages
, Award actoal Aaqmages aad inte restand benefits

e, Aw ard back Sa lary From the enc ef thirty chosys
after Sve pensions Valles was wrtthest authority
Awd suspend more than theety days,

FE. Pre liminas Ln vaction re lief te immediate salary
Status as suspended weth pays oF te former
teaching PO sition immediate, wrethest harass meat

» Award Front pry fn Weu of former beaching positon,

references ts Gerald Simonsen

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Order all deragstor
it Ocder a j aard Files or records including

Ce Mmovear From all
the State Board ef Eduction.
= . Ordec Beard at E docotion “be stop unlaw Fol employ ment

actors qoward emeleyees ot -the Board.

te, Board ot Education Ard ministrative Lreartag

Ji Ocaerc Sta
+o ceaclude based on Lilliacis law of res judicata,
Ara Federal law at res jeder antdovble

sudcetal Hearings wasting far payers MSNVCY ¢

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K. Order Board te reform wunjvstispension salary
ty Ken Cron Gerald Simonsen puctheot cacse,

L. Order Board fo pry Cera ld Simonsen or lost
Se lary o fportuaty fe Coaching salary and Summer
school salary , with interest Qn benekits.

M. Order Board te potity other fenvored teachers
whe were Aischarged Through unlaFal actions
atthe Board or tenured feachers who re signed
Linder +hreat at tin law-fo | Actions Oe other
employees so sitveted, ‘

uP ere Se attorney Fees warranted in this Cace,
COUNT I

Fo Plaintitle realleges and incorporates by reference

Paragraphs 135 of Count | as Pacagca phs - 85 esF-Coonk \\

G7 Board of Edocebion and name ad ind vidual defendast

under color of law took actions which were. deliben
and willl CAUSING rar m tio PlaractcPE Gerald Simonse.
liberty reghts to his chosen, Profession woethost
doe process van violation ef constittuthona\ rights

gGrara ateed by the. United Stites Constctution,
th Bthand (4 #4 Amendments and IQAUSC- 5 (48198
88 De feadauts , each anc all, damaged Pla
Gerald S’ (MASE repotation ps thest CAO sea
Kaowin brought false discipline CAOSING grec
harm each andall Pla WAbi-FPs, which is ongorng:

q fendant Vallas pad authority to se spend BOdoys
; By Boar policy and LCS! los S/3YU-9F ~
14
 

PagelD #:18

90, Board oat Edvcation Warning Resolutians were,
given +e PlaiwhiPl Gerald Simensen witkeut
CALS GS. excest fo clamagqe. Simonsenis reg hts
to Persona choices ef (awfel condoct not
requl red et other feacherstemployees of Board,

Gg, Board of EdvcationsFalse and baseless, not
Sutfieesct under TW iners law) nor case \auw,
charg es brovght +o the Stat&® Board oF Educot ron
has tececlosed Plaintiff Gerald Simonse, being
allowed to continve. in the teachirg pression |

as he has since LU 77.

G2. Beard Presidext Chica's CammentsS tes Ge WO rk
atk ether school clistriets were 3 loken woth
malice and reckless indifference. , Qs Board
Charges fareclosech these. che (ces available
te PlaintiPl Geuld Simonsen CoLosing harm

and suffering to each andall Plaintifs,

G3. Defendants eoch and all worked to deprive
the qualtty aft lite for each ardal( tr lawtit Es
bY actiens Known te be unlawFol | anki were.
infocmed their Actas were Onilaw tol turthout

4aking carrechve, actions.

WJ HEREFORE, Plants prags thatthis tereorable.
Coort :
tL. E.nte- J vag meat on -theic favor and age inst each,
and ah et the Defendaits as may be proven at-tria |.
3. Awara Compensatory and puathwe damages
award all actual Aamas 2s with interest rancl

— beneLits
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PagelD #:19

D . Prel mvnary Tn junction cel vet to pmmecliate
Status as sv spendeck wocth py or te former each,
pos Tien 2 pmmecdlate ane without harassment

E. Award back salary from 30 doys atterthe staré
of on paid, suspension As UUs was wilecl axthertty
fF Award Front ?*7 cn [eun of former Feaching position
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97 Roard et Educatisn phen awafe et dwe process
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Actors doward employees ot the Board ’

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" YS, Order State Board ef EA ucotions Administrative
rearing to end based on doctrine. oft s Tes jrodicatra’
at state and Fe dera policy To Prevent wasting Tax MONEY,

K. Order Board of Edocoten +5 Cetarn An ost Suspen~
son SA lary ta Ken From Gerald Simonsen,

L., Order Board of Edvecton fo note&y any feaured
teacher who was Aischarged by the Board throog
nalawto| actions or these teachers that resigned

under threat oF unlawful action .

M. Award fro Se attorney fees warranted inthis case,
COUNT AV

[oc Plaintiffs cealleges and in cocporates by

reference paragrmphs (-100 ef Counts I, Ih IU
AS Paragraphs I-100 of Count IV,

 

102% Defendant Gearrings retaliation for her lov
cating Crom the Hendrick Local School Cooncc|
aS to bring ontrue Arserpline ageacns T Gerald
Simonsen uN Ae prc e€199Gun vialaton of

U2 U.S Ce £ 19181, [983 and Tithe Vil of tHe

Crsel Rg hts fetra€ 19764 and 1990,

(09. The. Roard of E docechien Warning Resolution
in Apc (, (977 WAS in retaliation against
P law Gerald Simonsen for Filing AM

EEOC complaint in IG93,

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104 Failore te Arep charges at State hearing
15 the Aeliberate retaliation against

Gerald Simonsen by the Roard and Causing
rece parable harm to all Plaiahtf£s

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that it allows for individuals Wot King |
Under color oF law te retaliate wrrhest
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(Oe Boards Aecision to not acceet a decision
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SO tS not te reinstate Simensento Ws
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O77: The Board AW, qive No CEASON bot eretect
Lo, the adverse actTwus placed vpon

ralah Simonsen Cau Sing yrre parable harm
to all Plaintiffs,
[08 - Defendants Gearing continved to-falsely
testity at the Stecte. hearing was TO Fe-
tatiste, for public comments at Board meetings,

[OF Tu March 2601 P laiatcFe Gerald Simonsen Filed
a Come latnt with EEOC. EEOC stated Right
to Srv |e (etter has been mas bed | not delivered as yet,

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WHERE FO RE, ? laut Ee prays thet this
Honorable Count }
fe. Eater Nodg ment in their faver and against each
ank allet the Defendants as may be proven at tral,
B. Award actual damages with interest and benefits
C. Awarcl Com pensatory and Pv nitive Aamages.
D. Pre liminary Fajeactorn re let to status as Suspendec|
with pay ef former Teaching Pos) tion,
&. Award back Salary vom 30 day atter +he start

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Go spend mere than FO Aays,

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by the Beard throvg W Un lawtel Actions

or to teacher whe reseg redundéer threat of
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Me Award fro Se ate rney fees waranted in
this CASE

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COUNT V
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HI Race discret lehe [4 Amendment ord

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WHERE FORE PlaahtF&s pray that this Honora ble Court,
fr. Enter jodgmeatd in there Grvor and against 2ach
and al’ ot the Defendants AS may be Pen attrial,
a. Award acta | Aamages with caterest and benefits

including (ost coaching salary , Summer school salary )

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C.. award pen twe. and. compensatory Aama ges
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for Gerald Simonsen's Suspensior as Vallas ts
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i itheot Board aAppmvel ev rscvant to Cllrs laud,
&.. (Pre liminar cen vactwn cellet Te salary status
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ferences to Gerald Simonsen

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IK. Order Roaard te notify other tenbvred teachers
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ot his $€x%, thet be.n4 male.

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rants guaranteed onder Title vil et the

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(Asi Tris cia lve otis placed against Gerald

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Board andeach Defendants wele AWaAse,
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[2l. Cerlha Simonsen Filed an EOC Come lav
in March ef 2001. The ELOC have stated
that the Right to Sve Letter has been
YWAAt led to SCmOASEA | bot not delivered
as yet for Uunkros in Feacons,

(a2. Tn 1976 +here were Clght ma le teachers

Working at Hendricks and dvete aauerse.
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WHEREFORE, Plaintifs prays that dhis Coort!
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to Gerald Simensen by +he BoarAd

F. Award Front Poy IA [rev o€ Fos merteacking positron

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7 Order Board fo notify 2 ther tenured teachers

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pt. the Board er fenb(ed teachers who resigned
Under threat of unlawful actions

j. Award Pro Se attorneys fees wartalited ints case,

COUNT VL

123 Plants realleges and incor porates by

reference Parag ra phs (-Pp2 ef COUNT | through
COUNT Vi as paragraphs {-\AZd oF CONT Vi,

124 Detendants all and each weth trtentional
aus regard for PlawthFl Gerald Simonsen! s rights

ander state law and federal Paw failed te
cortect me. +he. hestile Woork env tronmeart
at Lhe ndricks school, CAUSING harm to F laintiffs

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| 26. Hog tt le environment’ at Lhondricks WQS

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Employee Re lations have. Ae li berately
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IWIHHERE FO RE, Plain prays that +h (S$ Court:

A. enter jryag meat in theic Favor ank against
Cach and al Defendants aS may be proven ak +rial

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RB. Award Aa mages, caactuel
ank ponctwe

C. Award back salary

©. Preliminary Ln {uacten ralet to suspension
Leth pay

EG. Order Aeragatery reterentes be removed

fF 0 rher State, Hearing “he end Oras Ce ¢ joduedro
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(x usar Front pay in lieu of former teaching
pes CTUON,

He. = Return SUsSpenslon salary unfostly withheld

) compensatory

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or teachers Who resigned vadec threat

aE On lawFo( actions
al, Prward Pro Se attorney foes warranted ca tis case

COUNT Vil!

[2¥ ? lanti€&s realleges and [acer porates by reverence

paragraphs |- 127 of COUNT | through COUNT VII
AS paragra ahs [27 e€ COUNT Vil].

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of 71 PagelD #:31-

"124 Pla intiCE Gerald Simonsen Was intentionally

; Aivscriminated against in his employment
by @ach andall Defendants in willFol violation
of Simonsen cights guaranteed underthe
Constete tien af the Unced States Sth Amend
ment (4th Amendment and (2 US.C.5, (51,
14 $3 ard \A#S,

130 Defendants intenctwrally by their ack (oS
joined in an overt action against Plaintité
Gerald Simensen So that their actions formed

Cw Con Spicacy to CAVSe Un lavw-G 1} yp adverse
emp loy ment actiers Which caused great
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)2{ Defendants Ackioas WES | thn cart, +o place
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\ 2 Y. Dee fFendancts Vallas, Jolason Gearing, Sexcth,
TZermejo and Crescl alf Knew 27 shold have.
Know thet perjyry at an LrAministrative,
hearing is unlawful yet deterdants
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by law,

WHEREFORE, P larntcEfs prays that -Hhis Court:
A. Eater jug ment ia ther Fauel and against
cack and all Defendants as may be proven at-trial:

QB. Aeteal dlamages incloding interest, bene€rts
ana lost sdary toe coaching and summec scheol
Salary pees other Sa lary denced-be awacded

Cc. Ce Mm PLAS actory Aa mag 2S for Pan and suffering

ph. Pvartive clamages

B. Award pmmeciete. hack pay from 30 days at-ber

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~~ Caser-bhetev-0308t pecument #1 Fied: 04/30/64 Page 33 of 71 PagelD 4:33
c. Feel minary Tenjuncton to suspension us bh
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Gerald Simonsen
HH. Fward Front poy ivr lLeuat Former Feachvag

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Jj. Retorn cot Hany san Kern By Unjust suspensions
to be @rdered by thie Honorable Coort

kK. Oc-der Board +e nototy Arscharg ec poachers
at- the Board or teachers Who resigned
wnader threat at oO nlaw€u| ACHLONS OWS
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tL. Award Pro Se attorney Cees warranted va

this Case
(35 Plaintirees realleges anc incorporates by

reference pacagraphs j- 134 as pacagraphs
Prom Count { phrovgh COONT VIIl as paragraphs

1-134 of COUNT IX.

126. Defendants eack and all failed FO preveat

+he unlaw-fol acttns towara PlaintiCl Gerald
Simonsen Causing i rceparable, harm te all PlaintifFs

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" 137. Faure +o take corre cue Achong ar

Oo CONS PI CACY +o PFEVENT +he Unlawful
Violations aF€ constitutional cghts Guaranteed
Uodec the Unched Stites Constitution SrA

Amendment, |4t& Amendment and YQ USC,
(491, 1983, (195, 1986 by the defendants

has cavsed irreparable harm to eachand
all 0 lawntcF6s -

(29, The Board was indocmed of Onlawfo|
acters ant teok ne corrective action,
124, The. Defendants performed their Knowingly
false Aiscipline or Aiving false inm
formation to further the uncausead

Ole privations @ €+he Plaintitts
iyo A+ alltime celeuvant the detendants
Ove tlon $ Were. ww ithout CAUSE. ona

performed Inocer color ot law to
intention atly © harm too the. CO lacatrtfs

141 Deten dants each and all had many oppor-
toarctes +o take corrective. actwns and

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WO HERE FORE , P laintCle prays thet +his

Llonorable Coeort!

A. enter d vdgment mm tveic faverand AGA inst
each and all Defendants as may be proven at tral.

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-. Aus arch ac ol amages wo ith interest and
hen efits incloding Coach Sa (ary Summer
Cchoeal Salary and other salary Aenved.

C. Award Compensatary Aamages for Painand h

Dp. Kward punctwe OAamages —

E. Award immediate back pay Grom 3 O days ater
Sturt of Ongacd suspension

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ce | nary rj Ac HON re let fo SUS PEASION with
Pay er Teaching poscten formerly held

oo Removal at Any and all dera ator reterences
+o Gerald Simonsen Crom Poach or ate Board,

LH Award Crort Pay 1 (eu of former teaching position

cc. Order end +o State. fed ministratwe Near ing
Ave tot ces fuds cata” doctrine at state
and Federal law.

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Loi actlens as custim oF

Qoard Was | (Legal anak vatau-ful,

Le A-wark Pro Se. attorney foes werranted in-thic case.

COUNT *-

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+hroug h COUNT iX as paragraphs \-1Y/

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Case: 1:01-cv-03081 Document #: 1 Filed: 04/30/01 Page 36 of 71 PagelD #:36

af COUNT X,

(U2, Plaintiff Gerald Simonsen WAS intentionally
Aisaciminated against by Dc€endarte be
Cause ef Nis aqe in Airetyicletion at
mahts guaranteed to Simonsen onder Age
Discereminat=rn in Employment Act 2g
LL £. CY G21, 623 e|t. seg,

YY. The Board Po ley seeks dismissal at teachers
over UO years o€ age go less expenswe |
salary will lower costs to Board, os hile

p co Vine sham public ralations of mote.
accoontal|ity expected of teachers

Its. While en unpaid su SPAS LON the. +reacher
currently replacing Plaintif® Gerald Simonsen
is less qyraliFec, less experiencech, and
YCeng er than Simonsen,

(Ue, PlaickkCe Gerald Simonsen remains qualitied
and willing to perform the duties of
Yes teacher pos tten, except that te
Roard doe to nis age has sospen oe
Simonsen Lo ithout paid cadsing ger
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dants treat teachers dyer YU }
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Including Arsene, UGS 4

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“4ug. Adverse treatment of teachers at
Hrendrick s caused most teac hers SINce,
4976 to leave +e work atotner schools
OT retuwe. Ave te Aiscrimingtion against
teachers ever YO Years ofage by

Defendant Gearnin , Known or ehould
have been Known to Rodriquez and Vallas.
Inq. The Boark has removed many capable
teachers from Schools w rthoot cause
other than being aver YOyerrs ot age,
incle Aing ? laratc Fé Bera la Simansern CADS ING
irceegarable harm to all P laiwntE&,

ISD Plante Gerald Simonsen Hlecdk a March 2001,
ON Compla act vo +h the EEOC, The EEOC
has tela Simonsen Wis letter oF Right
+e Goe has been Mat Led bot hag Age
Vet heen aelvered ,

WHEREEORE, Plaintiffs prays Thet this Honorable

Court!
fe Enter jv meat in their fuvar and against
cach and all Defendant as may be pruenct trea,

RQ Awad actval damages with caterest andl
benefits (nC loding coaching salary, sumner
Sclhoal salaty and othec Salary denied,

C. Award compensatory damages For painand suering
p. Award ponte Aamoges:
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Case: 1:01-ev-6368 2 : d-640 a :
=, Award Immedcocte, back Salary yom SO days
atter start of ON NAL d Su F PRAS(ON

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Board was i thegat AN

Lo. Award Pro Se attorney fees warranted in Phi Use,

PRELIMINARY CONJUNCTION

ist Plarmtifts realleqges anc Incor parabes by
ceference, to Paragraphs 1-190 of the. Complaint
AS pacagraehs i-tZGo for Preliminary Ten fonction
@Pucseant +e Rule EF of the Federal Rules
otk Civil Procedore., FPrelin inary Lajunction VS
atrected analy toward Defendant Chicago
(2 Oacn at ba vocation j IA Sv ppoct Clawhktfs
Stoytes asc fallous:
(Sd PC larintetés seek Preliminary Ln junction for

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—€ase- t:014-cv-63081 Document #t Filed: 04/30/01 Page 39 of 74 PagelD #:39° -~

cel(et oF {creparable harm which is Ongdin
Since DecemberZ 1494 when Plainti€€ Gerald '
Simonsen was suspended Ww ithot POY ,

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for AN Onkrouin Veagth as Board has steted
that if Admuiaistrative hearing is for Pe iastate

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the. fr-ppellete leve | of Lilinets courts, te

Keep Gerald Simansen gousperded without Pays and
tasting phoese spears: C Rearing otficerty letter 15 Exhibit 9)

sy. Public iwterest would be served by entry
ot Preliminary En ncrion asthe Board being

required to observe. Canstitetiona| cwghnts,
Civil rights and state laws serves the pubhe.

Iss, Plaintiffs have a very high likelihood of

Cuccess On the merrts.
sé No other remedy exists at law.

(S7 The Board world not le, harmed by P
Gerala Simansen On SESPEASLON with pay oF
co-tucned to former teaching positon.

(S58. Const itetional apestisns are. involved,

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}60 Board President S$ tobe ck Principal wrote,
AS missal charqes; tolections aot state. Law,

WHEREFORE, P lanti tts pray s Gea that ths
Preliminary Tin junction is Granted by this

Honorable Court for the following relief:
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Reet .
\) That the Board af E chucattian change
P lait C4 Gerald Vimonsen'¢ SUSpen son
Ho suspension With P OY | by order oF Court

2) Or that Plain Gerald Simonsen,
be ceinstoted to former Teaching
PSSITlon, by orther af Court

3) Rack Salacy oe +- PlaintcF SeraldASi monsen
aS Pave | Va las WIA S withoot authercty

+o suspend more than 20 days
pe cesvant +o Board policy, by dderet Court,

PLAINTIFFS DEMAND ATRIAL BY JURY
FoR THIS COMPLAINT ON ALL COUNTS

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Gerald Simossen pre se
Dea. Sih
Tise Siwensen pro Se
Gerald Simonsen, Cwerstin€ Fino nSCa ero Se
PO. Box 30075
C hicags Fh 630-0154 — Pamela Romero
Ne phone. Pamala Simonsen pre Se.

Vou de Semen

Paslette Simonsen = pro se
 

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CHICAGO SCHOOL REFORM BOARD MEETING

 

 

 

Agenda of Action April 21,1999 Ey he lbit # ]
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NON-DELEGABLE BOARD REPORTS THAT REQUIRE TRUSTEE ACTION
MOTION
§9-0421-MO1 Motion to Close *Adopted
REPORT FROM THE CHIEF EXECUTIVE OFFICER ,
99-0421-EX9 Warning Resolution - Geraldine Baginski, Teacher, Schurz Bigh School *Adopted
99-0423-EX10 Warning Resolution - Ingrid Bell, Teacher Assigned to John Marshall Metro High Schocl * Adopted
99-0421-EX11 Warning Resolution - James Boggan, ‘Teacher Assigned to Victor Herbert School _ *Adopted
99-0421-EX12 Warning Resolution ~ Marie Davis, Teacher Assigned to Transition ¥ Center High School | *Adopted

99-0421-EX13 Warning Resolution - Eugene McCray, Teacher Assigned to John Marshall Metro High School *Adopted
'99-0421-EX14 Warning Resolution - Linda L. McGlin, Teacher Assigned to Arai Middle School _-*Adopted
99-0421-EX15 Warning Resolution - Gerald Simonsen, Teacher, Thomas A. Hendricks Community Academy * Adopted
\_/ 99-0421-EX16 Warning Resolution ~Karen Vargo, Teacher, Evergreen Academy Middle School *Adopted
99-0421-EX17 Request for Dismissal of Maria Ayala, School Clerk, Stephen Ty, Mather High School # Adopted

99-0421-EX18 Request for Dismissal of Raymond Donaldson, Custodial Worker, Percy L. Julian High School *Adopted

99-0421-EX19 Request for Dismissal of Sylvia Dotson, School Assistant, Walter Reed Elementary School *Adopted

99-0421-EX20 Request for Dismissal of Donald Dowdell, Watchman, Central Office Safety and Security *Adopted

99-0421-EX21 Request for Dismissal of Kevin Hamer, Child Welfare Attendant, . * Adopted
' ‘Theodore Herzl Elementary School

99-0421-EX22 Request for Dismissal of Hubert Hogue, School Bus Aide, Ray Graham Training Center *Adopted

99-0421-EX23 Request for Dismissal of Rosemary Lapinard, Teacher Assistant, Robert Emmet Academy *Adopted

99-0421-EX24 Request for Dismissal of Linda Miller, School Assistant, Horace Greeley Elementary School *Adopted

99-0421-EX25 Request for Dismissal of Hassie Monille, Lunchroom Attendant, Yates Elementary School *Adopted

99-0421-EX26 Request for Dismissal of Wilbert Moore, Custodial Worker, Leslie Lewis Elementary , * Adopted

99-0421-EX27 Request for Dismissal of Adeline Orr, School Bus Aide, Mark Twain Elementary School . . *Adopted

VY 99-0421-EX28 Request for Dismissat of Thomas Perkins, Engineer, Hyde Park Academy - *Adopted

- 99-0421-EX29 Request for Dismissal of Austin Phillips, Custodial Worker, Harlan Commuuity * Adopted
Academy High Schoo!

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age 42 of 71 PagelD #:42
Ex \
April 21, 1999

WARNING RESOLUTION-GERALD SIMONSEN .
TEACHER, THOMAS A. HENDRICKS COMMUNITY ACADEMY

TO THE CHICAGO SCHOOL REFORM BOARD OF TRUSTEES
JHE CHIEF EXECUTIVE OFFICER RECOMMENDS THE FOLLOWING:

That the Chicago School Reform Board of Trustees adopt a Warning
Resolution for Gerald Simonsen and that a copy of this Board Report and
Warning Resolution be served upon Gerald Simonsen.

DESCRIPTION: Pursuant to the provisions of 105 ILCS 5/34-85, the applicable statute of
the State of Illinois, the Rules of the Board of Education of the City of
Chicago, and Board Report 90-231-19, a Warning Resolution must be

adopted and issued to Gerald Simonsen, teacher to inform him that he is
engaging in unsatisfactory conduct. -

The conduct outlined in the Warning Resolution will result in the
preferring of dismissal charges against Gerald Simonsen pursuant to the
Statute, if said conduct is not corrected immediately, and maintained
thereafter in a satisfactory fashion following receipt ofthe Waming |
Resolution. Directives for improvement of this conduct are contained in
the Warning Resolution.

LSC REVIEW: LSC review is not applicable to this report.

“

AFFIRMATIVE

ACTION REVIEW: None. -

FINANCIAL: This action is of no cost fo the Board.
PERSONNEL

IMPLICATION: None.

Re ctfully submitted,

or
Paul G. Vallas

Chief Executive Officer
Approved as to legal form:

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Marilyn F. Johnson

Attorney

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a WARNING RESOLUTION

WHEREAS, the Chicago School Reform Board of Trustees deems it necessary to issue a

warning notice to Gerald Simonsen, a teacher at Thomas A. Hendricks Community Academy, in
that he exhibited conduct unbecoming a teacher.

NOW, THEREFORE, BE IT HEREBY RESOLVED that the Chicago Schoo! Reform Board
of Trustees issues a warning to Gerald Simonsen to correct the following deficiency in his
conduct and offers directives for imnrovernent of the deficiency listed below:

Deficiencies

 

1. During the 1997-98 and 1998-99 school years, you yjolated Section 1-2 of the
Employee Discipline Code which prohibits the failure to submit lesson plans and
other reports as directed by the Principal or in a timely manner.

Specifically you committed the following violations:

i) You failed to submit a report in response to the Principal’s request made
on September 2, 1997, and again on September 12, 1997 relative to the
supervision of your students.

ii) As of September 12, 1997, you failed to timely submit lesson plans which
We were due September 5, 1997.

iii) - On October 6, 1997, you failed to submit your students’ graded papers and
your grade book to the Principal as requested. As of October 10, 1997,
you still did not submit the above-requested documentation.

iv)  Onor about March 6, 1998, you failed to timely submit Performance
Contracts which were due on that date.

vy) On March 12, 1998, and again on March 15, 1998, you failed to
submit a strategy plan for the improvement of school scores as requested

by the Principal and were provided with a memorandum relative to this
failure.

vi) | Onor about August 25, 1998, you failed to submit your written response
before the end of the day relative to your pattern of tardiness as directed by
the Principal. You did not submit this response until August 28, 1998.

vii) On or about November 2, 1998, you failed to timely submit your lesson
plans for the week ending November 13, 1998.

wy viii) As of December 3, 1998, you failed to submit your 1998-99
Professional Plan which was due November 16, 1998.

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2. You violated Section 1-9 of the Employee Discipline Code which prohibits
having an irregular or excessive absence or tardiness record or a pattern of
repeated absence or tardiness at a specific time or on specific days of the week or

month or in relation to holidays. Specifically, you were tardy and/or absent on the
following occasions:

i) §° Onor about September 5, 1997, you missed the first staff meeting of the
1997-98 school year.

i) On or about September 12, 1997, you were scheduled to meet with the
Principal and you called in sick.

iii) | Onor about August 20, 1998, you were approximately thirty minutes late

to the first day of staff development.

iv) On or about August 21, 1998 you were tardy to the second day of staff
development and did not swipe or sign in.

v) On or about August 24, 1998 you were approximately one hour late and
missed the mandatory staff development field trip activity.

vi) On or about August 25, 1998, you failed to be present at the morning staff
WY briefing.

vii) On or about December 1, 1998, you did not attend the Primary team
meeting.

3. You violated Section 1-10 of the Employee Discipline Code which prohibits
negligent supervision of students, as follows:

i) On or about September 2, 1997, you did not supervise your students
. during dismissal.

id) ‘On or about October 23, 1998, your students were left unattended in class.

iii) On or about October 29, 1998, your students were left unattended during
and after opening exercises.

iv) Onorabout December 3, 1998, your students were left unattended and
two boys were found tussling on your classroom floor. o

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‘You violated Section 1-12 of the Employee Discipline Code which prohibits
insubordinate actions including failure to carry out a rule, order, or directive
related to the performance of the employee’s duty, as follows:

i) On or about September 8, 1997, you were givell a dhicetive to organ!ze
your classroom and post student work. On or about September 14, 1997,
Mr. Davis, the primary coordinator, provided you with suggestions for
organizing ans decorating your classroom, including the directive that you
should display your students’ work in the classroom. Nevertheless, on or
about October 8, 1997, you still failed to exhibit your students’ work.

ii) On or about October 8, 1997, you failed to follow the Principal’s directive
to submit to her your students’ graded papers and your grade record.
Moreover, you were absent on October 10, 1997, and did not submit the
aforementioned documentation despite receiving 4 memorandum further
directing you to comply by October 10, 1997.

iii)  Onor about November 16, 1998, you failed to comply with a
memorandum dated November 6, 1998, from Dr. Cozette Buckney, Chief
Education Officer, by disseminating a survey without having it approved

by the Office of the Chief Executive Officer and the Law Department.

During the 1997-98 school year, you failed to return calls from parents and to
address concerns regarding your grading of students’ work. :

‘You violated Section 2-1 of the Employee Discipline Code which prohibits
repeated or flagrant acts of Group 1 misconduct.

You violated the Principal's directive relative to professional dress as follows:

i) On or about January 16, 1998, you wore blue jeans after being directed by
the Principal that such clothing was not acceptable.

ii) On or about January 22, 1998, you wore gym shoes,
iii) During the 1997-98 school year, the Principal informed you that several of

your students and parents had complained about your non-professional
attire.

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- Directives for Improvement
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1. Complete and submit all lesson plans, record books and or other reports a5
requested by the Principal by the given deadline.

2, _° Arrive to school at your designated start time. Notify appropriate school
personnel when you will be tardy or absent from school. Prior to any absence,
make certain that all administrative requests have been completed.

3. Attend all scheduled staff meetings and conferences with the Principal.

4. Immediately cease your practice of leaving students unattended in your classroom.
Secure appropriate supervision for students when you must leave your classroom.
You must supervise your students before and during dismissals.

5. Answer and comply with all administrative directives including but not limited to:
(i) oral or written directives made by the Principal requesting written
explanations; (ii) oral or written directives made by the Principal to submit lesson
plans, record books, and/or other records; and (iil) administrative memorandum
relative to the approval of surveys prior to dissemination.

6. You must retum all parents’ phone calls: In the event that parents request to.

LY __ _ discuss their child’s grade, you must be prepared to show complete documentation
of their child’s scores, Thus, when completing your grade book, list your students
alphabetically; provide a grade section for each of the curricular areas; and enter -
the date and title of each assignment and the grade earned.

7. You must wear appropriate professional attireto work. Do not wear blue jeans or
gym shoes.

Dismissal will be requested if you fail to comply with the directives for improvernent as

noted above.
Re lly sub ited,
Paul G. Vallas
Chief Executive Officer

Approved as to legal form:

ara llen bt Sptiwaal #
\. Marilyn F. J ohnson
Attorney
 

Af of 71 PagelD #:47

95-1025-PO1 October 25, 1995

CHICAGO SCHOOL REFORM BOARD OF TRUSTEES

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PERSONNEL POLICY B pages ©

TEACHERS AND ADMINISTRATORS: DISCIPLINE

 

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The Chicago Public Schools, a public employer, requires that its employees perform
their duties in a manner which furthers the efficiency and best interests of the School District,
and which results in the highest level of public trust and confidence in the City’s schools.

In accordance with the provisions of this Policy, principals have authority and
responsibility to take disciplinary action against any teacher or certificated employee whose
conduct does not further the efficiency and best interests of the School District. The Chief
Executive Officer and Regional Educational Officers (chief administrators") have authority
and responsibility to take disciplinary action against any teacher whose conduct does not
further the efficiency and best interests of the School District, however, only the Chief

- Executive Officer or his designee shall have authority to discipline principals and other
administrators. The degree of discipline to be meted out is dependent on various factors
including, but not limited to, the seriousness of the offense, the employee's work record and
the totality of the circumstances. The conduct described below, when engaged in by an
employee, will result in disciplinary action which may include discharge unless the
employer, taking all circumstances into account, deems it to be excusable.

If an employee is covered by a Collective Bargaining Agreement, that agreement will
govern to the extent it conflicts with this Policy or contains additional requirements.

“Teachers” as used in this Policy refers to teachers, counselors, social workers,
librarians and all other teacher certificated employees included in the Chicago Teachers
Union bargaining unit who are not defined as “career service” or educational support
personnel. . hehe lacy) Ak bdaaes engi tere ety aul wasavdun mbes 8

“A dministrators” are defined as principals and other supervisory personnel employed
on administrative certificates issued by the Illinois State Board of Education.
 

95-1025-POi Ex.2

(b)

(c)

(d)

determine what degree of discipline is appropriate after weighing all the
situational factors involved in the misconduct.

TYPES OF DISCIPLINARY ACTION - The types of disciplinary action
which may be imposed include the following:

Reprimand, which is a censure expressing formal disapproval of the actions of

an employee, but carrying no loss of privileges. A reprimand may be oral or
in writing, but in either case is made part of the employee's record.

Suspension, which is the temporary removal from employment, accompanied
by a concurrent and temporary loss of the privileges of employment, including
but not limited to salary or wages. In accordance with the provisions of this
Policy, the principal or chief administrator has authority to suspend or to
recommend suspension of an employee for thirty (30) days or less.

Notice to Remedy, which is a forma! written warning regarding performance
or misconduct deemed to be remediable.

’ Unsatisfactory Rating/Article 24A Remediation Plan for Teachers, which is

the formal process for remediating pedagogical deficiencies as set forth in
Article 24A of the School Code. .

Discharge, which is the act of dismissal from employment and the permanent
loss of all privileges of employment. Discharge includes the withdrawal of
any right to reinstatement from layoff or leave of absence.

An affected employee shall have the right to have a written response to any
disciplinary action taken against him placed in his personnel record by
submitting the response to the principal or chief administrator within five (5)
days of the imposition of the disciplinary action.

Principals and Regional Educational Officers must notify Department of
Human Resources of all disciplinary action imposed on teachers, although the
failure to do so shall not affect the disciplinary action taken.

The following procedures govern disciplinary suspensions of teachers. For

disciplinary suspensions of principals and administrators, the Chief Executive Officer or his
designee shall be responsible for imposing discipline, pursuant to Section 8 below.
 

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Whenever suspension is being considered against a teacher, the employee shall be
given advance written notice that such action is being considered by the principal or chief
administrator. The notification shall include a description of and cause for the disciplinary
action and the date, time and place when an informal, pre-discipline hearing will be held. _

The hearing will be conducted by the principal or chief administrator considering the
discipline. At such hearing, the employee will be informed of the proposed charges,
provided with an explanation of the basis of the charges, and afforded an opportunity to
respond and present his explanation of the applicable facts and circumstances.

The employee may be represented at the hearing upon request by one person of his
choice, including an attorney or a union representative. The rules of evidence will not be
applied. At the hearing, the employee may make oral or written presentations, which may
include the empléyee’s view of the appropriateness or necessity of suspension without pay
pending other discipline, if such suspension is being considered, as well as comment on the
proposed charges, Any statements of witnesses presented by the employee must be in
writing. :

After such hearing, the principal or chief administrator will determine what discipline,
if any, to impose short of discharge or suspension without pay for more than fifteen (15)
days. Suspensions of teachers without pay for one (1) to fifteen (15) days will be reviewed
by the Regional Educational Officer upon request of the employee, as provided below.
Discharge and suspensions of sixteen (16) to thirty (30) days must be determined by the
Chief Executive Officer. |

The procedure described in this Section 3 will be followed for suspension of a teacher
without pay pending recommended dismissal, except that the notification and pre-discipline
hearing will be conducted by the Director of Human Resources or a designee. No other
notification or appeal rights shall apply to such suspensions.

 

When a principal or chief administrator determines that a suspension without pay is
to be imposed, the employee will be notified in writing and on a timely basis of such action.
The notification will include a description of and cause for the disciplinary action and the
dates on which the employee shall serve the suspension. As appropriate, the employee
further will be advised as follows:
 
  

 

 

 

 

 

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| CHICAGO SCHOOL REFORM BOARD MEETING

Agenda of Action _ ‘June 23, 1999 Exhibit “3

: 4 pages
MOTION oe
99-0623-MO1 Motion to Close *Adopted

NON-DELEGABLE BOARD REPORTS THAT REQUIRE TRUSTEE ACTION

REPORT FROM THE CHIEF EXECUTIVE OFFICER :
99-0623-EX6 Warning Resolution - Anne Grossman, Teacher, Assigned to Joseph E. Gary Elementary School *Adopted

99-0623-EX7 Warning Resolution - Welen Potakis, Teacher, Schurz High School + Adopted “
99-0623-EX8 Warning Resolution - Gerald Simonsen, Teacher, Thomas A. Hendricks Community Academy *Adopted
99-0623-EX9 Warning Resolution - Cody Sweet, Teacher, Assigned to Waters Elem entary School, *Adopted

99-0623-EX10 Warning Resolution - Tracy Cunningham, Teacher, Assigned to Mt. Vernon Elementary School *Adopted

99-0623-EX11 Request for Dismissal of Martin Espinosa, Custodial Worker, Pope Elementary School * Adopted
99-0623-EX12 Request for Dismissal of Patricia Hale, Lunchroom Attendant, Depriest Elementary School * Adopted
99-0623-EX13 ‘Request for Dismissal of Larry Phillips, Custodial Worker, Banneker Elementary School * Adopted
99-0623-EXi4 Report of the Results of the Board of Trustees’ Review of the Findings of Fact and * Adopted

Recommendation of the Hearing Officer Regarding the Charges Preferred Against
Myrna Adams-Hardaway, Reassigned Teacher

99.0623-EX15 Report of the Results of the Board of Trustees’ Review of the Findings of Fact and - * Adopted
Recommendation of the Hearing Officer Regarding the Charges Preferred Against
Maria Prato, Principal of Henry Clay Elementary School

REPORTS FROM THE CHIEF OPERATING OFFICER
99-0623-OP3 Authorization to Purchase 4550 South Kedzie for the Construction of a New School to *Adoptet
- Relieve Overcrowding at the Davis and Shields Elementary Schools .

99.0623-OP4 Authorization to Purchase 4544 South Kedzie for the Construction of a New Schoolto *Adopte
Relieve Overcrowding at the Davis and Shields Elementary Schools

99-0623-OP5 Authorization to Purchase 1701 West Morse Avenue for the Construction of a New School to *Adopte
Relieve Overcrowding in the Field School Attendance Area

99-0623-OP6 Authorization to Purchase 5252 West Palmer and 2250 North Latrobe (Weber High School) * Adopt
99-0623-OP7 Authorization to Pay Final Just Compensation Judgement Award for the Acquisition of *Adopt
. 4846-4848 West Walton Avenue for the Construction of the Ronald E. McNair Academic Center
RESOLUTIONS , my , oO :
99-0623-RS1 Resolution Re: Phillip Jackson, Chief of Staff to the Chief Executive Officer Adopte
99-0623-RS2 Resolution Ret Rudolfo Serna, Retired Deputy Director of School and Community Relations Adopte

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ex 3

WARNING RESOLUTION

WITEREAS, the Chicago School Reform Board of Trustees deems it necessary 10 Issue a
warning notice to Gerald Simonsen, a teacher at Thomas A. Hendricks Community Academy, 10
that he exhibited conduct unbecoming 4 teacher.

NOW, THEREFORE, BEIT UEREBY RESOLVED that the Chicago School Reform Board

of Trustees issues a warning to Coreid Simonsen to correct the owing deficiency in his
conduct and offers directives for improvement of the deficiencies listed below:

Defieiancies

1. You violated Warning Resolution 09-0421-EX15 which the Board adopted on
April 21, 1999. See Exhibit “A” attached hereto.

In relevant part, this Warning Resolution directed you as follows:

i} Complete and submit all lesson plans, record books and or other reports as
requested by the Principal by the given deadline.

ii) Attend all scheduled staff meetings and conferences with the Principal.

iii) Answer and comply with all administrative directives including but not
limited to: (i) oral or written directives made by the Principal requesting
written explanations; (ii) oral or written directives made by the Principal to
submit lesson plans, record books, and/or other records; and (ili)
administrative memorandum relative to the approval of surveys prior to
dissemination. -

iv) ‘You must wear appropriate professional attire to work. Do not wear blue
jeans or gym shoes.

2. ~ Although this Warning Resolution informed you that dismissal would be
requested if you failed to comply with the directives for improvement, yOu.
_ yjolated the aforementioned Warning Resolution when you disregarded the above-
fisted directives and committed the following violations:

i) You violated Section 1-2 of the Employee Discipline Code which
prohibits the failure to submit lesson plans and other reports as directed by
the Principal or in a timely manner. Specifically, you erigaged in the
following conduct: .

a) You failed to submit your April 30, 1999 lesson plan which was
due on May 2, 1999.

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b) As of May 12, 1999, you failed to submit a completed 1998-99"
Professional Plan which was due on November 16, 1998, and you
disregarded the reminders given to you on or about November 25,
1998, December 3, 1998, April 12, 1999 and May 10, 1999 relative
to this over due Professional Plan. .

c) You failed to submit a form relative to summer training which was
due May 19, 1999.

ii) You violated Section 1-12 of the Employee Discipline Code which .
prohibits insubordinate actions including failure to carry out a rule, order,
or directive related to the performance of the employee’s duty, as follows:

a) On or about May 10, 1999, you violated the Principal’s directive
relative to professional dress when you wore gym shoes and jeans
after being directed by the Principal that such clothing was not
acceptable.

b) On May 12, 1999, you failed to follow a directive to complete and
submit the over due 1998-99 Professional Plan. Specifically, you
violated this directive when you submitted this Professional Plan
on May 11, 1999, with the following unresponsive answers to all
inquires: “ I do not wish to share my personal feelings”; “can’t
remember”; and “I do not wish to share.”

c) On or about May 21, 1999, you failed to follow the Principal’s
directive to attend a staff development meeting.

d) As of May 24, 1999, you have disregarded the Principal’s directive
to submit a form relative to summer training.

iv) As a result of your continued above-mentioned conduct, you violated
Section 2-1 of the Employee Discipline Code which prohibits repeated or
_ flagrant acts of Group 1 misconduct. :

Moreover, prior to, your receipt of the April, 1999, Warning Resolution, you
continued to violate Section 1-9 of Employee Discipline Code which prohibits
having an irregular or excessive absence or tardiness record or a pattern of
repeated absence or tardiness at a specific time or on a specific days of the week
insubordinate actions including failure to carry out a rule, order, or directive
related to the performance of the employee’s duty, as follows:

i) On or about March 17, 1999, you failed to attend a Primary Team
meeting.
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Ex 3.

ii) On or about March 21, 1999, you failed to attend a Primary Team
meeting.

iii) On or about April 22, 1999, you failed to attend a Primary Team
meeting.

Directives for Improvement

l, Complete and submit all lesson plans, record books and or other reports and forms
as requested by the Principal by the given deadline. Unresponsive and incomplete
answers to inquiries on the above-mentioned reports, plans and or forms are

unacceptable.
2. Attend all scheduled staff meetings and conferences with the Principal.
3. Answer and comply with all administrative directives including but not limited to:

(i) oral or written directives made by the Principal requesting written
explanations; (ii) oral or written directives made by the Principal to submit lesson
plans, record books, and/or other records and forms; and (iii) oral or written
directives to wear appropriate professional attire to school.

4, Abide by Thomas A. Hendricks Community Academy rules and regulations
relative to wearing appropriate professional attire to work. Do not wear blue jeans

or gym shoes.

Dismissal will be requested if you fail to comply with the directives for improvement as
noted above.

tfully submitted,

Paul G. fas

Chief Executive Officer

   
 
 

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Marilyn FE Jo Wa

Attorney
 

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CHICAGO PUBLIC SCHOOLS Ex h b, f ¢ Y
Paul G, Vallas a Pages

Chief Executive Officer
September 17, 1999

Mr. Thomas H. Reece

President

Chicago Teachers Union

222 Merchandise Mart Plaza, Suite 400
Chicago, Iilinois 60654-1005

RE: Gerald Simonsen
#99-06-124(]j]} and
#99-06-180(jD)

Dear Mr. Reece:

Pursuant to the provisions of Article 3-3 of the 1995-99 Agreement between the Chicago School Reform Board of
Trustees and the Chicago Teachers Union, a conference was held on September 2, 1999 concerning the above
referenced grievance. This grievance was filed on behalf of Mr. Gerald Simonsen, a Teacher at Hendricks School, on
April 29, 1999. Present at the conference were Mr. Larry J. Laughlin, Field Representative, Chicago Teachers Union;
Mr. Gerald Simonsen, grievant; Ms. Carol Gearring, Principal, Hendricks School; Ms. Cheryl L. Nevins, Coordinator,
Bureau of Labor and Employee Relations.

. Alleged Violation(s)

Articles 1-3, 1-4, 1-18 and 2-1. The grievant alleges that the Principal-lacks any authority to impose a dress code on
teachers. The grievant alleges that no Board Policy exists mandating a dress code for teachers. The grievant requests
that the principal cease imposing a dress code.

Principal’s Response

According to Principal Gearring there is no “official” dress code policy for teachers. However, she has simply
requested her teaching staff to dress professionally by not wearing jeans or gym shoes. Principal Gearring indicated
that students are not allowed to wear jeans or gym shoes and teachers should model professional dress and
professional behavior.

Decision(s)
Since #99-06-124(]jl) and #99-06-180(ijl) are identical, this decision applies to both grievances. These grievances are
based on alleged violations of Article 1-3, 1-4, 1-18 and 2-1, however the grievant proffered no evidence that he was
discriminated on the basis of race, sex, gender, national origin or union activities. Although the Board does not have an
official dress code policy for teachers, teachers are expected to dress professionally and to exhibit conduct becoming a
Chicago Public School teacher. Principals have the authority to request teachers to dress professionally. No contract
violation occurred. Grievances denied.

Le Clee,

Paul G. Vallas
Chief Executive Officer
PGV:CP:cln

WV
cc: Mr. Carlos Ponce / c f
~\

Mr. Jose Rodriguez
Ms. Carol Gearring
Mr. Gerald Simonsen

OFFICE OF THE CHIEF EXECUTIVE OFFICER © 125 SOUTH CLARK STREET, 5TH FL. * CHICAGO, ILLINOIS 60603 * TELEPHONE: 773/553-1500 ¢ FAX: 773/553-1501
  

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CPS CHICAGO PUBLIC SCHOOLS Bork bo + at ¥

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Department of Human Resources ¢ 125 South Clark Street, 2nd Floor * Chicago, Minois 60603.
Telephone 773/553-1070 * FAX 773/553-1071

Carlos Ponce

Chief Human Resources Officer October 12 1999
i

Mr. Gerald Simonsen
3519 N. Reta
Chicago, Illinois 60657

Dear Mr. Simonsen:

As your Region Education Officer's designee, | have received your written appeai
of the disciplinary action taken against you pursuant to the attached Notice of Disciplinary
Action. Based on the results of the Appeal Review held on September 2, 1999, in the
Bureau of Labor and Employee Relations, | have decided to uphold the Principal's decision
to suspend you for fifteen (15) days.

Your principal is your supervisor and is empowered by the Board’s disciplinary
policies to take disciplinary action against employees at the local school level. The record
indicates that there was a sufficient basis for such school-based discipline.

Your principal clearly has the authority to require you to dress professionally, to
report for work timely and to submit lesson plans and reports promptly. In the future, you
are to follow her directives. Your repeated failure to follow directives will lead to further
disciplinary action, up to and including discharge.

Your suspension without pay will begin October 13, 1999, and will continue through
November 2, 1999. You are to return to work on November 3, 1999.

pose

arfos Ponce
Chief Human Resources Officer

 

CP:CLNirdh
Attachment

cc: Ms. Carol Gearring - Principal, Hendricks Academy
Mr. Larry Laughlin - Field Representative, Chicago Teachers Union

Children First
 

> CHICAGO PUBLIC SCHOOLS ©

Paul G.

Vallas

Chief Executive Officer

November 12, 1999

Mr. Gerald Simonsen
703 West Indiana Street
St, Charles, Illinois 60174

Dear Mr. Simonsen:

 

Exh. by te T |

_ Pursuant to §34-85 of The School Code of illinois you are hereby notified that | have
approved the charges against you for conduct unbecoming an employee of the Chicago Public

- Schools. Enclosed please find a copy of the written charges and specifications. You are further
ended, without pay, pending a hearing on the

notified that | am requesting that you be susp
charges approved against you. Prior to the dismissal hea
hearing officer, you will be afforded a pre-suspension heart
and Employee Relations. You will receive notification from
Relations as to the date and time of the pre-suspension hearing.. 2.0.07

ring conducted by an independent
ng to be held in the Bureau of Labor
the Bureau of Labor and Employee

Pursuantto statute, a dismissal hearing has been tentatively’ échéd uled for December 6. ~

4999. However, you will be dismissed from your employ
City of Chicago and no hearing upon the charges will be held
receiving this notice, you request in writing of the Chief Ex
be scheduled on the charges. .|f you wish to request a
your written communication to Ms. Marilyn F. John

of the City of Chicago, 125 South Clark Street,

a af

Enclosures ee
cc: Marilyn F. Johnson
Robert R. Hall, Jr.

ment with the Board of Education of the
unless. within 10 days after
ecutive Officerthata dismissal hearing
hearing on the charges, please direct
son, General Counsel, Board of Education

Suite 700, Chicago, Hlinois 60603.

  

Paul G. Vallas

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| have received a certified CPey the

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aid Simonsen™

‘ore Request for dismissal, including the
charges and specifications this _ [ 2" day of £1999. — a
a Fox 0D Sraacilen

_ : OFFICE OF THE CHIEF EXECUTIVE OFFICER * 425 SOUTH CLARK STREET, 5TH FL.

  
 

» CHICAGO, ILLINOIS 60603 *

TELEPHONE: 775/553-1500 * FAX: 773/553-4150
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APPROVAL OF DISMISSAL CHARGES AGAINST
GERALD SIMONSEN, A TEACHER ASSIGNED TO
THOMAS A. HENDRICKS ACADEMY

“THE CHIEF EXECUTIVE OFFICER

hereby approves the following charges against Gerald Simonsen, a teacher, assigned to Thomas

A. Hendricks Academy.

CHARGES

I charge Gerald Simonsen with:

1.

Violation of Section 4-9 of the Employee Discipline Code Section which prohibits violation of
School Rules, or Board Rules, policies or procedures which result in behaviors that grossly
disrupt the orderly educational process in the classroom, in the school, and may occur on or off
school grounds or assigned work location. ,

Violation of Section 4-8 of the Employee Discipline Code which prohibits any conduct which is
cruel, immoral, negligent, criminal, or causes psychological or physical harm or injury to a
student.

Violation of Section 1-2 of the Employee Discipline Code which prohibits failure to submit
lesson plans and other reports as directed by the Principal in a timely manner.

Violation of Section 1-12 of the Employee Discipline Code which prohibits insubordinate

actions, including failure to carry out a rule, order or directive related to the performance of the
employee’s duty.

Violation of Section 2-1 of the Employee Discipline Code which prohibits repeated or flagrant
acts of Group ] misconduct.

Violation of Board Policy Section 605.7, the Policy on Change of Student Grades, which in
relevant part states, pursuant to the School Code, “...evaluation of students is to be carried out

- within the framework of system-wide and local school polices and procedures, and is to be

based upon the teacher’s professional judgment of pertinent grading criteria. Written, accurate
evaluation records of each student are to be maintained by the teacher, who shall be prepared
to justify assigned grades.”

Violation of Warning Resolution 99-0421-EX15.

Violation of Warning Resolution 99-0623-EX8.

Conduct unbecoming an employee of the Chicago Public Schools.
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SPECIFICATIONS

1, On or about April 21, 1999, the Board approved a Warning Resolution wherein the Chief
Executive Officer (“CEO”) directed you to “[cJomplete and submit all lesson plans, record
book and or other reports as requested by the Principal by the given deadline.”

A. The Warning Resolution specifically stated that “djismissal will be requested if
you fail to comply with the directives for improvement as noted above.”

B, Nevertheless, you violated this Warning Resolution when you failed to comply
with the aforementioned directive by refusing to submit your record book to
your Principal throughout the 1998-1999 school year.

2. On or about June 23, 1999, the Board adopted a second Warning Resolution wherein the
CEO again directed you fo “[cJomplete and submit all lesson plans, record books and/or other
reports and forms as requested by the Principal by the given deadline.”

A. This Warning Resolution again alerted you that “(dismissal will be requested if
you fail to comply with the directives for improvement as noted above.”

B. In complete disregard of the CEO’s directive for improvement, and despite
‘repeated requests by your Principal, you failed to produce any record book at -
* 3. On or about Jone of t9 9, you did not submit nathies of students who required remedial
x attention andinstead arbi tatily selected-studénts to attend summer school = So a

    
 

A \y 4, \ Onor about June of 1999, you promoted yo students who lac ed the proper skill"
) ‘development for the third grade, Contrary te your recommendatt for promotion, Ms.
U 8 Archuleta, a’summer school early interventions.teachér, determined that M-P. should receive .

- NW  shecial edvication and that ID. should be retained in the second grade.

5. Throughout the 1998-1999 and 1999-2000 school years, you failed to maintain an accurate
evaluation record for the students in violation of Board Policy Section 605.7, the Policy on.
Change of Student Grades.

6. At the close of the 1998-1999 school year, you were unable to justify the grades you assigned
to your students. In addition, you were unable to justify your students’ grades at the conclusion
of the first quarter of the 1999-2000 school year.

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— ss : tee: e 59 of 71 PagelD #:59

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7, During the 1999-2000 school year, you were repeatedly insubordinate to your Principal, as
Black Law Dicdich hos:

6 :
@ wll fel Agee ger. You violated your Principal’s written directive of August 24, 1999, relative to
mp eter ~- 4 shod your record book when you failed to submit your 1998-1999 record book at
hn ack ot” Aisobediece - any time, Specifically, you disregarded the directive which instructed you to

fo prep ar gethot ity “Be current at all times and furnish lesson plans, record books, and other
esp. * cefunl te obey —_ reports when requested by an administrator. Specifically, you must furnish the
? arder thet & record book for the 1998-1999 school year within 48 hours of receipt of this
an AL oi letter.”
SV poser of Peer FB. On or about October 9, 1999, you refused to submit your 1999-2000 grade
au tbocrre give book to your Principal at any time. Later that day, your Principal went to your

class and discovered that after approximately six weeks of classes, you had
only one entry in your record book which reflected a homework assignment.

Hearn Mey (0 1444? Cc, On or about October 13, 1999, you were suspended for fifteen (15) days in

as 1 part due to your repeated insubordinate actions and failure to submit a record
book,

per work 7 D, On or about October 13, 1999, your refused to follow your Principal’s

directive to submit your grade book prior to serving your suspension, and
stated that you “didn’t know where it was.” |

8. During the 1999-2000 school year, you neglected the evaluation of your students’ work and
you failed to report your students’ progress, as follows:

. A. On or about September 27, 1999, a voluminous amount of ungraded student
work; dating as early as August 25, 1999, was found piled in your desk.

B. On or about September 30, 1999, you displayed a student’s paper (3.8.)
- marked with the letter grade of “F” and with the comment “one hour of
talking’. Moreover, you refused to offer the Principal a written explanation of
the pedagogical reason for exhibiting this student’s paper.

Cc. On or about October 8, 1999, you failed to submit accurate progress reports.

D. On or about October 13, 1999, you left Hendricks Academy to serve a
suspension without leaving student work or a record of student evaluation for
Ms. Thomas, the interim teacher. Asa result, Ms. Thomas was required to
start a new grade book for your class.
 

. . . . . amt . . Ex Cc

E. You did not submit for scoring two diagnostic tests which were given to
twenty-three (23) students in your classroom on September 8, 1999. On
October 29, 1999, Ms. Thomas, the interim teacher, found these ungraded
diagnostic tests consisting of nineteen (19) pages of Reading and seventeen
(17) pages of Math, Due to your negligent conduct, your students deficiencies

were not identified and your students'skill development needs were not” ~

addressed.

F, Although your suspension period ended November 2, 1999, you did not report
to work for report card pick up day on November 3, 1999, and ignored your
responsibility to be available to speak with parents regarding their children’s
academic progress.

G. On or about November 3, 1999, you failed to issue report cards that properly
reflected your students! progress throughout the semester. Moreover, dueto  -
your negligent conduct, the only quarter grades your students received were

from their auxiliary classes.

9, Thus, your conduct grossly disrupted the orderly educational process in the classroom, is
. deemed irremediable, and warrants dismissal.

Respectfully submitted,

Paul G. Vallas
Chief Executive Officer »

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I Be Paul G. Vall
CHICAGO PUBLIC SCHOOLS tie au allas

coat Chief Executive Officer

Bureau of Labor and Employee Relations *° 125 South Clark Street, 13th floor & Chicago, Illinois 60603
Telephone 773/553-1200 * FAX 773/553-1201

mmr
ay. Sharon Baile
Margaret Kostopulos Co . on Deborah A. Brote
Oirector , Reshona Duncan
November 17, 1999 Curtis L. Goodman
: Thomas M,. Owens
Cheryl Nevins

Mr. Gerald Simonsen
703 West Indiana Street
St. Charles, Illinois 60174

Dear Mr. Simonsen:

Pursuant to Section 3 of Board Policy 95-1025-PO1. adopted on October 25, 1995,
Teachers and Administrators: Discipline and Discharge, a copy of which is attached, you are hereby ..
notified that the Chief Executive Officer is considering a recommendation to terminate your
employment in the Chicago Public Schools. A copy of the proposed charges and specifications is
enclosed herewith. oO, I --

In accordance with the above-cited Board Policy, be advised that a Pre-Suspension Hearing
will be convened in the Bureau of Labor and Employee Relations, 125 South Clark Street, 13th Floor,
on Tuesday, November 23, 1999 at 9:45 a.m. | have been designated as the Hearing Officer by the-
Chief Executive Officer. At the hearing, you may be represented by one person of your choice.

if you have any questions, you may contact me or Mr. Curtis Goodman, Fieid Administrator,
at (773) 553-1200. oe

Sincerely,
nine
Cheryl Nevins

CN:CLG:rdh
Enclosures

cc: Robert R. Hall, Jr. os
Jose Rodriguez
Carol Gearring

 

i received the original letter, a copy of Section 3 of Personnel Policy 95-1 025-PO1, and a copy of
the proposed charges and specifications on November , 1999. :

 

(Gerald Simonsen)

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Children First _ Se a .
 

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Whenever suspension is being considered against a teacher, the employee shall be
given advance written notice that such action is being considered by the principal or chief
administrator. The notification shall include a description of and cause for the disciplinary
action and the date, time and place when an informal, pre-discipline hearing will be held.

The hearing will be conducted by the principal or chief administrator considering the
discipline. At such hearing, the employee will be informed of the proposed charges,
provided with an explanation of the basis of the charges, and afforded an opportunity to
respond and present his explanation of the applicable facts and circumstances.

The employee may be represented at the hearing upon request by one person of his
choice, including an attomey or a union representative. The rules of evidence will not be
applied. At the hearing, the employee may make oral or written presentations, which may
include the employee’s view of the appropriateness or necessity of suspension without pay
pending other discipline, if such suspension is being considered, as well as comment on the
proposed charges. Any statements of witnesses presented by the employee must be in
writing.

After such hearing, the principal or chief administrator will determine what discipline,
if any, to impose short of discharge or suspension without pay for more than fifteen (15)
days. Suspensions of teachers without pay for one (1) to fifteen (15) days will be reviewed
by the Regional Educational Officer upon request of the employee, as provided below.
Discharge and suspensions of sixteen (16) to thirty (30) days must be determined by the
Chief Executive Officer.

The procedure described in this Section 3 will be followed for suspension of a teacher
without pay pending recommended dismissal, except that the notification and pre-discipline
hearing will be conducted by the Director of Human Resources or a designee. No other
notification or appeal rights shall apply to such suspensions.

Section 4 = Notification Of Discipline And Appeal Ris!

When a principal or chief administrator determines that a suspension without pay is
to be imposed, the employee will be notified in writing and on a timely basis of such action.
The notification will include a description of and cause for the disciplinary action and the
dates on which the employee shall serve the suspension. As appropriate, the employee
further will be advised as follows:
iv “++ Case: 1:01-cv-03081 Decument #: + Filed: 04/30/01 Page 63-0f 74 Pagelb-#34—____--———-
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Types of Disciplinary Action

The types of disciplinary action which may be imposed include the following:

Reprimand, which is a censure expressing formal disapproval of the actions of an
employee, but carrying no loss of privileges. A reprimand may be verbal or in writing, but
in either case is made part of the employee's record.

~ Suspension, which is the temporary removal from employment, accompanied by a
| concurrent and temporary loss of the privileges of employment, including, but not limited
to, salary or wages. The administrator has authority to suspend or to recommend
suspension of an employee for thirty (30) days or less.

Principals may also be suspended for up to 30 days for violating the Uniform Principal
Performance Contract.

Suspensions shall not be Issued for behavior that is pedagogical in
nature. Unsatisfactory work performance must be addressed pursuant
to the Board’s various labor agreements and Section 24A of the Illinois
School Code, and policies and procedures of the Board.

—_ Warning Resolution, which is a formal written warning, issued by the Board, regarding
teacher performance or misconduct deemed to be remediable.

Discharge, which is the act of dismissal from employment and the permanent loss of all
privileges of employment. Discharge includes the withdrawal of any right to reinstatement
from layoff or leave of absence.

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CHICAGO PUBLIC SCHOOLS

 

Paul G. Vallas EY hibit * y

Chief Executive Officer oe

December 27, 1999

Michael Hernandez, Esq.

General Counsel

Illinois State Board of Education
400 West Randolph Street

Suite 14-300
Chicago, IL 60601

RE:

Hearing on Charges Approved Against Gerald Simonsen, a
Teacher Assigned to Thomas Hendricks Academy, and
Request to Provide a List of Hearing Officers

Dear Mr. Hernandez:

In accordance with the provisions of Section 34-85 of the Schoo! Code and 23 Ill.
Admin. Code §52.35(c), | am forwarding to you a copy of a letter approving charges
against Gerald Simonsen, the written charges and specifications, and a letter from
Chicago Teacher's Union President Thomas Reese on behalf of Mr. Simonsen requesting
a hearing pursuant to Section 34-85 of the School Code. The last known address of Mr.
Simonsen is: 703 West Indiana Street, St. Charles, Illinois 60174. Please provide us with
a list of impartial hearing officers so that we may begin the selection process.

KAB/
Enclosures

Sj ly,

 
 

Paul G. Vailas
Chief Executive Officer

cc: Marilyn F. Johnson
Robert R. Hall, Jr.

OFFICE OF THE CHIEF EXECUTIVE OFFICER *

425 SOUTH CLARK STREET, STH FL. © CHICAGO, ILLINOIS 60603 « TELEPHONE: 773/553-1500 © FAX: 773/553-15
 

Marvin F. Hill, Jr. Exhibit HF

Arbitrator

 

Member lowa Bar

330 North Second St. (815) 753-6308 (Office)
DeKalb, Illinois 60115 April 25, 2001 (815) 756-8122 (Home)
mhill@niu.edu ; (815) 754-4866 (Fax)

James G. Ciesil. Esq
Chicago Board of Education
125 South Clark, Ste 700
Chicago, Illinois 60603

Gerald Simonsen
2922 North Kenosha
Chicago, [linois 60641

Gentlemen:

I am in receipt of the Board’s letter of April 24, 2001, and its motion for denial of a
backpay remedy in the event of a decision in favor of Simonsen.

Mr. Simonsen’s conduct in this proceeding, including his latest argument regarding
notice of the hearing date, is a matter of record which, upon completion of this proceeding, will

be forwarded to the Illinois State Board of Education.

I am today requesting the parties to confirm one, or both, of the July hearing dates within
two weeks so this matter can be concluded before I start my fall semester.

- The Board’s motion is taken under advisement pending response from Mr. Simonsen.
Vani OL. yours,

davin SUL
Marvin Hill, Jr.

ce: Gene Daly

 

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yaaa ~~ Case: 4:01-cv-03081 Document #4 Filed:-04/30/01 Page 66 of 74 PagelD #:66 —--

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oo 2 P24 €s
IN THE CIRCUIT COURT OF COOK COUNTY .
COUNTY DEPARTMENT - LAW DIVISION

a4)

GERALD SIMONSEN,
Plaintiff,

ve No. 00 L 50817

iLL. DEPT. OF EMPLOYMENT
SECURITY, et. al.,
Defendants.

ORDER

This matter comes before the court for judicial review of a decision of
the Board of Review dated July 24, 2000, which found that plaintiff was
discharged for misconduct and was not, therefore, entitled to unemployment
benefits. Plaintiff was placed on a 15-day suspension at the end of the
school day on October 12, 1999. The principal asked him for his grade book
and attendance book as he was leaving school. Plaintiff hurried back to his
classroom but was able to only locate his attendance book. The lack of a
grade book coupled with plaintiff's untimely suspension prevented the school
from transmitting grades at the parent conferences set for November 3,
1999. During oral argument plaintiff stated that he subsequently found his
grade book at home. There is no evidence that the principal requested that
plaintiff send in the grades during his suspension. The Board held that the
failure of the plaintiff to have his grade book immediately available at the
time of his unforeseen suspension constitutes misconduct.

The main purpose of the Unemployment Insurance Act is to alleviate
the economic insecurity and burden caused by involuntary unemployment.
Jones v. Dept. of Employment Security, 276 Ill.App.3d 281 (1995). While
benefits are a conditional right and the burden of establishing eligibility rests
with the claimant, the Act must be liberally construed to favor the awarding
of benefits. Kiefer v. Dept. of Employment Security, 266 Ill.App.3d 1057
(1994). A worker is disqualified for benefits if he willfully violates a reason-
able company rule known to him and the violation causes harm to the
employer or occurs after repeated warnings in respect to the misconduct.
Zuaznabar v. Board of Review, 257 Ill. App.3d 354 (1993). Disqualifying
misconduct does not include mere insufficiency, ordinary negligence or good
faith errors in judgment. Wink/meier v. Board of Review, 115 Ill App.3d 154
(1983). Even though an employee's ‘conduct may justify his discharge, it
does not necessarily disqualify him from receiving unemployment benefits.
Pesce v. Board of Review, 161 Iil.App.3d 879 (1987). Although the work
history of an employee is extremely relevant, the acts that ultimately led to a
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discharge must constitute misconduct. London v. Dept. of Employment
Security, 177 Ill. App.3d 276 (1988).

The inability of plaintiff to immediately produce his grade book was
due to the fact that he was provided with no notice of his impending
suspension. The fact that plaintiff did produce his attendance book shows
that he was willing to cooperate despite having just received the despairing
news of his suspension. It conceivably could constitute misconduct if
plaintiff failed to produce his grade book after receiving reasonable notice of
his suspension and the need for the grade book. Under the circumstances of
this case, however, the finding of the Board that the acts of plaintiff
constitute misconduct is against the manifest weight of the evidence.

Accordingly, the decision. of the Board is reversed and plaintiff is
entitled to unemployment benefits. .

JUDGE THOMAS P. QUINN

NOV 15 2nooney

Circuit Court-238

 

Judge Thomas P. Quinn
 

«)

e 68 of 71 PagelD #:68

 

 

Exhhit wil

January 23, 2001 a P24 <s

Trustees — CPS ‘RE: Property rights demand letter
Paul Vailas - CEO:

Marilyn Johnson — Law Dept.
Dear Trustees, Mr. Vallas, Ms. Johnson,

This letter will serve upon the Board of Education a demand to immediately change my salary status with
the Chicago Public Schools. This demand includes all back salary, return of salary from previous
suspensions, salary lost from coaching positions, lost summer school salary for past three years and a
teaching position to be agreed upon by the patties.

My demand is made, in part, for the following:

1) [have vested property rights under the United States Constitution. The Trustees, Mr. Vallas, Ms.
Johnson have violated those rights causing great hardship for Gerald Simonsen and his family.

2) My pre-suspension hearing violated my due process rights, as set out by the Supreme Court of the
United States.

3) A Circuit Court decision that I was not guilty of charges brought by Vallas/Johnson for misconduct.

4) An administrative hearing at the State Board of Education is thus barred by res judicata from finding
any misconduct. Without misconduct, irremediably is moot.

5) Mrs. Bermejo, the Board’s attorney has dropped two specifications from Mr. Vallas/Ms. Johnson
complaint, as no proof could be found. Nor can proof be found for the other specifications.

6) Mr. Vallas and Mr. Chico have declined to offer testimony at the state hearing as both are without
knowledge of the charges.

7) According to the Board’s own Discipline policy, Mr. Vallas has authority to suspend employees only
up to thirty days. My suspension without pay has lasted thirteen months, causing great economic
hardship.

8) At the Administrative Hearing, the Board in “bad faith” petitioned and received a Protective Order

from the Hearing Officer, outside of the hearing rules. The Protective Order, prevents many Board
employees from being called by the Defense.

9) The Trustees, Mr. Vallas, Ms. Johnson were on notice that the Hendricks Principal was taking unfair,
illegal and unequal treatment against a Board employee, and took no corrective action.
10) The Trustees, Mr. Vallas, Ms. Johnson were on notice that Warning Resolutions against Gerald

Simonsen were untrue, and took no corrective action.

11) The Trustees, Mr. Vallas, Ms. Johnson were on notice that due process violations of the state statute by
the Board against Gerald Simonsen had occurred, and took no corrective action.
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(01 Page 69. of 71 PageID #69.

eK Il

12) Gerald Simonsen has repeatedly informed the Board of Trustees, Mr. Vallas, and Ms. J ohnson that he
was not guilty of any misconduct, and they took no corrective action.

For the reasons mentioned I demand my property rights, my back salary and a teaching position, all before
February 1, 2001. Nothing in this demand lessens my rights to seek damages through the Court system of
the United States.

Sincerely,

Ceagbol Cen eRnery

rald Simonsen
Homeless

Mailing address:
Gerald Simonsen
2922 N. Kenosha
Chicago, IL 60641

Para er tela Hoyer &
Case: 1:01-cv-03081 Document #: 1 Filed: 04/30/04 Page 76-of 74 PagelD-#:70-—--—___--—__-

JS 44
(Rev. 12/96}

CIVIL COVER SHEET

The JS-44 civil cover sheet and the information contained herein neither replace nor supplement the filing and service of pleadings or other papers as required
by law, except as provided by local rules of court. This torm, approved by the Judicial Conterence of the United States in September 1974, is required fox the use
of the Clerk of Court for the purpose of initiating the civil docket sheet. (SEE INSTRUCTIONS ON THE REVERSE OF THE FORM.)

I. (a) PLAINTIFFS DEFENDANTS C hicago Roared at Edecaton
BeralhS imon TCA, Elyse. Simeasen Past Vallas Aas Ayndoh nse dose Rodin wer
Povletle. Simonsen, Panes la, SLRRANK, Carel Bearting, Chery! Meu: Sharon Bate
Cheistiae Simonsen SAring Dorme es, Nemes Crest Cighs Ponce. 7

cook. fel ete Bc

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(bb) counTy oF RESIDENCE OF FIRST LISTED PLAINTIFF COUNTY OF RESIDENCE ane LISTED DEFENDANT
(EXCEPT IN U.S. PLAINTIFF CASES)

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NOTE:

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ATTOANEYS (IF KNOWN}

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as S. loiark Sth Su.cte Joo

(C) ATTORNEYS (FIRM NAME, ADDRESS, AND TELEPHONE NUMBER}

Beye lO. Twonsen Fro Se.
Ge 30075

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ll. BASIS OF JURISDICTION [PLACE AN-x"INONE Boxonty) | Hl, CITIZENSHIP OF PRINCIPAL PARTIES (PLAce aN “0 IN ONE BOx FOR PLAINTIFF
(For Diversity Cases Only} AND ONE BOX FOR GEFENDANT)
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D1 US. Govemment ws Federal Question Citizen of This State O1 1 Incorporated or Principal Place O4 O84
Plaintiff (U.S. Government Not a Party) of Business In This State
D2 U.S. Government Oa Diversity Citizen of Another State G2 O2 Incorporated and Principal Place OS G5
Defendant lindicate ottizenship of Parties of Business In Another State
in Rern Ill Citizen or Subject of aO3 ©3 Foreign Nation os o8
Foreign Country
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¥% Proceeding State Court Appellate Court Reopened (specify) Litigation Judgment
V. NATURE OF SUIT (PLACE AN “X" IN ONE BOX ONLY)
CONTRACT TORTS FORFEITURE/PENALTY| BANKRUPTCY OTHER STATUTES
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